               Case 1:19-cv-11887-TLL-PTM ECF No. 1-3, PageID.60 Filed 06/25/19 Page 1 of 1

                            STAlE OF MICHIGAN• GRAllOTCOUNTY
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                            MARY MERCHANT • REGISTER OF CEEDS



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                                                                                                                                 MAAY MERCHANT• REGISTER OF DEEDS


                                                                          QUIT CLAIM DEED
                                                                                                                                 ..,...      RECEIPT#70061,.STATION 1
                                                                                                                                 ...,.,,co   QUIT CLAIM DEt:D

The Grantor:            COUNTY OF GRATIOT

Whose address is: _ _,2._1.,4c.,E,,._. ..,C""en..,t,,,e.,_r""St..,.......P_..0~-B..,o""x...,1,.,7.._• ..,lt.:..,ha..,c.,.a._.,.,_M,.,_I.:::,4..,884=7~-----------

Convey(s) and quit claim(s) to:                     RMS Property Management. LLC                             (grantee(s), whose address is:                     832 Madison St.
Birmingham. Ml 48009

The following premises are situated in the City of Alma, Gratiot County, Michigan:

29·51-032-779-00
Legal description:

HALL & SIWUU\R ADD                  N 1/2 OF L0'1' 3B

For a sum of: Twenty-five thousand five hundred dollars & no cents {$25,500.00l exempt per MCL 207.505 H(i) and MCL
207.526 H (i)

The Gran tor also grants to the Grantee(s) the right to make all division(s) as allowed under Section 108 of the Land
Division Act, Act. No. 288 of Public Acts of 1967.

The above described premises may be located within the vicinity of farmland or a farm operation. Generally accepted
agricultural and management practices which may generate noise, dust, odors, and other associated conditions may be
used and are protected by the Michigan Right to Farm Act

Exemption from State Transfer Tax is claimed under authority of Section 6(h)(i), Act 255, P.A. 1994 (207 .526) MCL.

EKemption from County Real Property Transfer Fee is claimed under authority of Section S(h), Act 134, P.A. 1966
(207.505) MCL.

Dated this 16th day of August, 2017.



                                                             '~"'d bv,{::-,C'\ I l; ~Q                          ,QpC,
                                                                               Michelle Thomas, Gratiot County Treasurer

STATE OF MICHIGAN)

COUNTY OF GRATIOT)

The foregoing instrument was acknowledged before me a Notary Public, this                                               /1 th day of
~ 2017, by Michelle Thomas, Gratiot County Treasurer.



                                                                           ~tr·              IC>O._........._ _ _



                                                                         Gratiot county, Michigan
                                                                                                                           Notary Public



                                                                         My Commission expires:~My J.4,:lo.21)



Drafted by: Michelle Thomas- 214 E. Center St. Ithaca, Mi 48847

Return to:

RMS Property Management

832 Madison St.

Birmingham, Mi 480099
